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                 IN THE UNITED STATES DISTRICT COURT
                 FOR THE DISTRICT OF SOUTH CAROLINA


Eric Samuel,                          )       C/A No.: 1:20-2601-TMC-SVH
                                      )
                     Petitioner,      )
                                      )
  vs.                                 )
                                      )                  ORDER
Mr. Charles Williams,                 )
                                      )
                     Respondent.      )
                                      )
                                      )

        Petitioner Eric Samuel is an inmate at the Perry Correctional

Institution of the South Carolina Department of Corrections. He filed this pro

se petition for a writ of habeas corpus pursuant to 28 U.S.C. § 2254. This

matter is before the court on Petitioner’s motion for discovery filed on October

2, 2020. [ECF No. 17]. Pursuant to the provisions of 28 U.S.C. § 636(b) and

Local Civ. Rule 73.02(B)(2) (D.S.C.), all pretrial proceedings have been

referred to the undersigned.

        Petitioner seeks discovery “on the grounds that the Petitioner is

incarcerated [and] that will help and support and prove with the credibility of

evidence to support petitioner’s claims.” [ECF No. 17]. In habeas corpus cases,

leave of court is required for the parties to conduct discovery. See Rules

Governing § 2254 Cases, Rule 6(a). Any party requesting discovery in a habeas

corpus action must provide reasons for the request. Rules Governing § 2254
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Cases, Rule 6(b). The Supreme Court has held that “the ‘broad discovery

provisions’ of the Federal Rules of Civil Procedure do not apply in habeas

proceedings.” Bracy v. Gramley, 520 U.S. 899, 904 (1997) (citing to Harris v.

Nelson, 394 U.S. 286 (1969)). Petitioner must set forth specific allegations

“show[ing] reason to believe that the petitioner may, if the facts are fully

developed, be able to demonstrate that he is entitled to relief.” Id. at 908–09.

      Because Petitioner has failed to set forth specific allegations showing he

needs discovery to demonstrate he is entitled to relief, his motion is denied.

      IT IS SO ORDERED.



October 5, 2020                             Shiva V. Hodges
Columbia, South Carolina                    United States Magistrate Judge




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